Case:19-17532-KHT Doc#:8 Filed:08/30/19 Entered:08/30/19 07:03:21 Pagei of 2

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Debtor 1 Dario Jesus Correa
First Name Micdle Name Last Name

Debtor 2 Ernestine Cora Brown-Correa
(Spouse if, filng) First Name Middie Name Last Name

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) {1 Check if this is an

amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 125

If you are an individual filing under chapter 7, you must fill out this form if:
Mf creditors have claims secured by your property, or

= you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and iessors you list on
the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

   
    

Secures a debt?. ‘as "samen on Schedule Ae

 

Creditor's (1 Surrender the property. Oi Ne
name: 0 Retain the property and redeem it.

CO Retain the property and enter inio a Reaffirmation CO ves
Description of Agreement.
property E] Retain the property and [explain}:

securing debt:

 

 

 

 

Creditors C Surrender the property. ONo
name: 0 Retain the property and redeem it.

CO Retain the property and enter into a Reaffirmation CO Yes
Description of Agreement.
property (C) Retain the property and [explain]:
securing debt:
Creditor’s C3 Surrender the property. [No
name: Ci Retain the property and redeem it.

Ci Retain the property and enter into a Reaffirmation [5 Yes
Description of Agreement.
property Ci Retain the property and {explain

securing debt:

 

 

Creditors O] Surrender the property. DONo

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor t
Debter2 Correa, Dario Jesus & Brown-Correa, Ernestine Cora Case number (i known)
name: C1 Retain the property and redeem it. Cl Yes
CZ] Retain the property and enter into a Reaffirmation
Description af Agreement.
property [7] Retain the property and [explain]:

securing debt:

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill in
the information below. Do not fist real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     

 

 

 

 

  
   

 

Describe your unexpired personal property leases: = WH the lease be assumed?.”"
Lessor's name: OO No
Description of leased
Property: OO Yes
Lessor's name: CI No
Description of leased
Property: Ct Yes
Lessor's name: OO No
Description of leased
Property: Cl Yes
Lessor’s name: [C] No
Description of ieased
Property: O Yes
Lessor's name: OO Ne
Description of leased
Property: O Yes
Lessor's name: C1 No
Description of leased
Property: CO ves
Lessor's name: CJ No
Description of leased
Property: O ves
EETERE sign Below
Under penalty of perjury, | declare that | have ide ention about any property of my estate that res a debtand any personal
property that is subject to an ey le:
X isi Dario Correa X /si Esnestine Correa
Dario Jesus Correa “O Lg if a Ernestine Cora eel a
Signature of Debtor 4 ge Signature of Debtor 2
Date August-24, 2019 Date August 24, 2019
Officiat Form 108 Statement of Intention for Individuais Filing Under Chapter 7 page 2

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